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                                               July 16, 2025
 VIA ECF
 Honorable Leda D. Wettre, U.S.M.J.
 United States District Court
 District of New Jersey
 Martin Luther King Building & U.S. Courthouse
 50 Walnut Street
 Newark, NJ 07102
          Re:      In re: Insulin Pricing Litigation, MDL No. 3080
                   Case No. 2:23-md-03080-BRM-LDW
 Dear Judge Wettre:

         We write on behalf of the Self-Funded Payer (“SFP”) Plaintiffs in accordance with Your
 Honor’s direction during last week’s Case Management Conference to provide a brief summary of
 the discovery process to date and discovery disputes pending before the Court.

     I.         Status of Discovery and Threshold Issues

        On August 3, 2023, the JPML created this MDL to coordinate pretrial proceedings of cases
 “concern[ing] an alleged scheme between insulin manufacturers and [PBMs] to artificially and
 fraudulently inflate the price of insulin and other diabetes medications.” CMO #1 at 3.1 After
 disputes regarding the initial discovery plan (CMO #10) [ECF No. 198] and ESI Order (CMO #11)
 [ECF No. 208], discovery formally opened on October 15, 2024, upon entry of CMO #13 [ECF
 No. 313]. In connection with CMO #13, the Court required “substantial completion of Defendants’
 responsive document productions within 90 days after being served with Plaintiffs’ Master RFPs.”
 CMO #13 ¶ I.3. Rather than deploy the resources necessary to attempt to comply with the Court’s
 substantial-completion deadline, or propose a reasonable extension of that deadline, Defendants
 took the position that the 90-day period for substantial completion requested by Plaintiffs and
 adopted by the Court somehow diminished their discovery obligations under the Federal and Local
 Rules and the Court’s ESI Order.

        Further to this point, until Judge Singh intervened during a March 11, 2025 discovery
 hearing, the PBM Defendants had maintained that their discovery obligations in this MDL were
 narrowly limited to what they unilaterally determined to be “proportional” to that 90-day
 substantial-completion deadline. But during the March hearing, Judge Singh required the PBMs
 to identify additional custodians covering the various departments requested by Plaintiffs and
 deferred the substantial-completion deadline to allow the parties to come to agreement on
 custodians and search processes.


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   Beginning in or around November 2024, SFP Plaintiffs began including certain PBM-affiliated
 rebate aggregating entities that negotiate drug rebates on behalf of the PBM Defendants. After the
 November 2024 CMC with the Court, the SFP Plaintiffs filed an Omnibus Motion for Leave to
 Amend earlier-filed complaints to name the rebate aggregators as defendants. [ECF No. 406].
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         Now that the parties have agreed on these disputes, the SFP Plaintiffs believe four threshold
 issues require the Court’s intervention so that discovery can advance: (1) the need for a revised
 discovery plan and substantial-completion deadline; (2) Defendants’ identification and production
 of data; (3) a deposition protocol; and (4) a privilege log protocol.

         Revised discovery plan and substantial-completion deadline. Although the parties reached
 consensus on custodians and search processes between April and June 2025, a substantial-
 completion deadline was not reinstated by Judge Singh prior to reassignment and remains an
 unresolved matter before Your Honor. Plaintiffs have repeatedly asked Defendants when they
 anticipate substantially completing their document productions, but Defendants have refused to
 provide any meaningful response. Without a substantial-completion deadline, Plaintiffs are
 justifiably concerned that Defendants’ pace of production will continue to remain unacceptably
 slow. Optum, for example, has produced just 6,503 documents, despite search terms and
 custodians being set as of May 6, 2025 (after it proposed an initial list of custodians on January 2,
 2025). SFP Plaintiffs respectfully submit that the parties would benefit from a discussion with
 Your Honor regarding a revised case schedule and substantial-completion deadline.

          Defendants’ identification and production of highly relevant data. Defendants’ failure to
 disclose their available data fields is another issue currently impeding the efficient progression of
 discovery. The significance of Defendants’ data in this case cannot be overstated. Dollar flow is
 central to all Plaintiffs’ cases: first, how dollars flow from Manufacturers to PBMs and their
 affiliates for formulary coverage; and second, how dollars flow from PBMs to payer-clients like
 SFP Plaintiffs, given PBMs’ representations that they pass through all (or nearly all) Manufacturer
 payments. The PBMs added an additional level of complexity to these payment streams within the
 last few years through their newly formed rebate-aggregator affiliates, which now collect payments
 from the Manufacturers, retain some unknown amount, and then pass on the balance to their
 affiliated PBMs (ostensibly for that PBM to then pass on those dollars to its clients in the form of
 “rebates”). But Plaintiffs require transaction-level data reflecting these payment streams to test the
 PBMs’ representations to their clients. Plaintiffs also require, among others, data fields that link
 the dispensed drugs to the formulary that governed each adjudicated claim. This PBM data will
 also be crucial to quantifying Plaintiffs’ damages.

         Each Defendant has made separate data proposals. The parties have spent months
 attempting to negotiate the scope of data to be produced. Although Judge Singh did not require the
 PBM Defendants to identify each of their available data fields, the Court emphasized that “the
 intent of the [Court’s ESI] order was to provide sufficient information to a requesting party to
 guide where relevant sources might be located” and therefore directed each PBM to investigate
 with their clients to determine “if there are ways to generate additional information as to types of
 data fields that are within these databases, such as counsel's representation that there might be a
 manual or schema readily available.” 3/11/25 Tr. at 86. Rather than comply with the Court’s
 directive and undertake a thorough investigation, the PBMs adopted a hyper-technical
 interpretation of the Court’s instruction, with each claiming (only through attorney say-so) that
 there were no “manuals” or “schema” that could generate additional information regarding their
 available data fields (other than the data fields they unilaterally selected and disclosed as part of
 their data proposals. Not only is their position doubtful—as data handling, data processing, and
 data utilization are at the heart of the PBMs’ operations—but their limited investigation ignored



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 the spirit of the Court's ruling and served to deprive Plaintiffs of critical information necessary to
 meaningfully confer regarding the scope and format of the production of PBM data.

         Plaintiffs raised these issues again to the Court in their April 4, 2025 correspondence [ECF
 No. 493], requesting that the Court provide further direction to the PBM Defendants to investigate
 their available data fields. Judge Singh, however, had not addressed this outstanding issue prior to
 reassignment of this case. Accordingly, Plaintiffs have recently issued Rule 34 requests for
 inspection seeking some of this information. But given the critical importance of this issue to the
 progression of discovery, Plaintiffs would welcome a discussion with the Court regarding an
 approach to resolve this concern on an expedited basis as to both the PBMs and the Manufacturers.

         Deposition and Privilege Log Protocols. The parties have been meeting and conferring
 regarding a deposition protocol since December 2024. Plaintiffs expect that the parties will soon
 reach impasse as to the protocol and expect that Court intervention will be required to resolve
 that dispute. As noted below, the parties have also fully briefed their disputes as to the privilege
 log protocol. Entry of these protocols is essential to advancing discovery in this case.

     II.       Pending Discovery Disputes

         Listed below are outstanding discovery disputes Plaintiffs have brought before the Court.2
 Plaintiffs defer to the Court's discretion on the most efficient resolution method but respectfully
 submit that Item Nos. 1-3 below should be prioritized over Item No. 4, as they are threshold
 disputes that will expedite discovery once resolved. SFP Plaintiffs withdraw any prior requests for
 argument on these disputes and respectfully submit to the Court’s preference to rule on the papers.
     1. Motion to Compel Responses to Compass Lexecon Subpoena to Produce Documents
     2. Privilege Log Protocol Dispute
     3. Motion to Compel Discovery from Ascent Health Services LLC and Emisar Pharma
        Services LLC
     4. Motion for Permission to Propound Requests for Admission to Defendant Novo Nordisk

     III.      Future Conferences

        SFP Plaintiffs defer to Your Honor's preferences for resolving these pending disputes and
 any future discovery matters. Plaintiffs are amenable to holding conferences and hearings with
 Your Honor via Microsoft Teams. Moreover, SFP Plaintiffs respectfully submit that monthly
 discovery conferences, during which the parties can raise pending issues for discussion, would
 help to ensure that discovery proceeds efficiently. Finally, SFP Plaintiffs are available for a
 conference on August 12 or 13, at the Court’s convenience.

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            We thank the Court for its attention to this matter.



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  Docket entries for these disputes are included in the “List of Motions Referred to Judge Wettre
 as of July 15, 2025,” which was provided to Your Honor via email and FedEx.

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       Respectfully submitted,


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       Lead Counsel for Self-Funded Payer Track



 cc:   Hon. Brian R. Martinotti, U.S.D.J. (via ECF)
       Counsel of Record (via ECF)




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